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10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                        )   NO. CR 20-MJ-70028
14                                                    )   NO. CR 20-MJ-70076
             Plaintiff,                               )
15                                                    )   STIPULATION TO CONTINUE HEARING AND
        v.                                            )   EXCLUDE TIME FROM AUGUST 31, 2021 TO
16                                                    )   SEPTEMBER 28, 2021; [PROPOSED] ORDER
     MOHAMMED COLIN NURU,                             )
17                                                    )
             Defendant.                               )
18                                                    )

19

20           In light of the COVID-19 pandemic, the complexity of the case, and the time available for
21 indictment, the above-referenced matters were previously continued and time excluded to August 31,

22 2021. The parties now request that the matters be continued to September 28, 2021.

23           It is further stipulated by and between counsel for the United States and counsel for defendant
24 Mohammed Nuru, that time be excluded under the Speedy Trial Act from August 31, 2021 through

25 September 28, 2021. Defendant Nuru waives the time for a preliminary hearing on each Complaint

26 under Rule 5.1 of the Federal Rules of Criminal Procedure through September 28, 2021. Pursuant to

27 stipulation, the Court previously excluded time under the Speedy Trial Act through and including

28 August 31, 2021, in light of the complexity of the cases – which the government represents involves

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 1 more than 1,500 recorded calls or conversations and thousands of pages of documents – the time

 2 available for indictment, and for effective preparation of counsel.

 3          For the same reasons, the parties stipulate and agree that excluding time from August 31, 2021

 4 through September 28, 2021, in both matters, will allow for the effective preparation of counsel and is

 5 appropriate based on the complexity of the cases and the amount of time necessary to return and file an

 6 indictment under the circumstances within the time specified by 18 U.S.C. § 3161(b). See 18 U.S.C.

 7 §§ 3161(h)(7)(B)(ii), 3161(h)(7)(B)(iii), 3161(h(7)(B)(iv); see also United States v. Pete, 525 F.3d 844,

 8 852-53 (9th Cir. 2008) (“the STA makes no distinction regarding the applicability of the exclusions

 9 under § 3161(h)(1) to the pre-indictment period (governed by § 3161(b)) and the pretrial period

10 (governed by §§ 3161(c) and (e)).”); United States v. Murray, 771 F.2d 1324, 1328 (9th Cir. 1985) (“In

11 cases of relative complexity, with multiple defendants and ongoing investigations such as here, it may

12 be quite unreasonable to expect the preparation and return of an indictment within thirty days… In the

13 case at bar, efficiency and economy were definitely served by the sixty day extension.”).

14           The parties further stipulate and agree that the ends of justice served by excluding the time from

15 August 31, 2021 through September 28, 2021, from computation under the Speedy Trial Act outweigh

16 the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §§ 3161(h)(7)(A), (B)(ii)-

17 (iv).

18          SO STIPULATED.

19

20 DATED: August 27, 2021                                        /s/
                                                          SCOTT D. JOINER
21                                                        Assistant United States Attorney
22

23 DATED: August 27, 2021                                       /s/
24                                                        ISMAIL RAMSEY
                                                          RAMSEY & EHRLICH, LLP
25                                                        Counsel for Defendant Mohammed Nuru

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     STIPULATION TO EXCLUDE TIME AND [PROPOSED] ORDER
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 1                                           [PROPOSED] ORDER

 2          Pursuant to stipulation, the appearance currently set for August 31, 2021 is HEREBY

 3 CONTINUED to September 28, 2021.

 4          Based upon the facts set forth in the stipulation of the parties and for good cause shown, the

 5 Court finds that failing to exclude the time from August 31, 2021 through September 28, 2021, would

 6 unreasonably deny defense counsel and the defendant the reasonable time necessary for effective

 7 preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). The

 8 Court also finds that excluding the time from August 31, 2021 through September 28, 2021, is

 9 appropriate in light of the complexity of the case, which the government represents involves more than

10 1,500 recorded calls or conversations and thousands of pages of documents, and the amount of time

11 necessary to return and file an indictment under the circumstances, including the current pandemic and

12 shelter-in- place orders, within the time specified by 18 U.S.C. § 3161(b). See 18 U.S.C.

13 §§ 3161(h)(7)(B)(ii), 3161(h)(7)(B)(iii); see also United States v. Pete, 525 F.3d 844, 852-53 (9th Cir.

14 2008) (“the STA makes no distinction regarding the applicability of the exclusions under § 3161(h)(1) to

15 the pre-indictment period (governed by § 3161(b)) and the pretrial period (governed by §§ 3161(c) and

16 (e)).”); United States v. Murray, 771 F.2d 1324, 1328 (9th Cir. 1985) (“In cases of relative complexity,

17 with multiple defendants and ongoing investigations such as here, it may be quite unreasonable to expect

18 the preparation and return of an indictment within thirty days… In the case at bar, efficiency and

19 economy were definitely served by the sixty day extension.”).

20           The Court further finds that the ends of justice served by excluding the time from August 31,

21 2021 through September 28, 2021, from computation under the Speedy Trial Act outweigh the best

22 interests of the public and the defendant in a speedy trial. Therefore, and with the consent of the parties,

23 IT IS HEREBY ORDERED that the time from August 31, 2021 through September 28, 2021, shall be

24 excluded from computation under the Speedy Trial Act. 18 U.S.C. §§ 3161(h)(7)(A), (B)(ii)-(iv).

25 The Court also orders that the time for a preliminary hearing be extended under Rule 5.1 of the Federal

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     [PROPOSED] ORDER EXCLUDING TIME
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 1 Rules of Criminal Procedure and the time within which to conduct a preliminary hearing is waived with

 2 the consent of the Defendant through September 28, 2021.

 3         IT IS SO ORDERED.

 4
             August 27, 2021
 5 DATED: ___________________                                 ___________________________
                                                              HON. JOSEPH C. SPERO
 6                                                            CHIEF U.S. MAGISTRATE JUDGE
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     [PROPOSED] ORDER EXCLUDING TIME
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